Case: 1:12-cv-00629-SJD-SKB Doc #: 237 Filed: 07/07/18 Page: 1 of 2 PAGEID #: 3538




                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION




    JAVIER LUIS,
         Plaintiff,                                                     Civil Action No. 1:12-cv-00629

    vs.                                                                 Dlott, J.
                                                                        Bowman, M.J.

    JOSEPH ZANG, et al.,
         Defendants.
                                                                          NOTICE OF APPEAL




.
          Notice is hereby given that Javier Luis, Plaintiff in the above named case, appeals to the

United States Court of Appeals for the Sixth Circuit from the District Court’s Order [Doc.# 235]

(attached) adopting the Magistrate’s Report and Recommendation [Doc. #225] granting

summary judgment for the Defendant that was entered into this action on June 8, 2018.

          Potential issues being appealed may include but are not limited to some or all of the

following:1

1) Whether, pursuant to the Federal Wiretap Act (“Wiretap Act”), 18 U.S.C.
§§ 2510-2520, the District Court erred when it found that the definition of intercept
encompasses only acquisitions contemporaneous with the transmission of the
corresponding communication.

1
  Using an excess of caution - as Plaintiff remains uncertain whether this Circuit requires a statement of issues with
this notice as some circuits seem to require- the following above list of primary issues on appeal has been included
herein. This list is subject to change - particularly if assigned counsel for this appeal or if pro bono counsel signs
onto the case. Other miscellaneous issues may include but are not limited to the following: Judicial error, case-wide
abuse of discretion, misapplication of substantive law to the facts of the case, improper interpretation of ruling
authority, improper case law used to defeat this case, denial of constitutionally provided due process of law, obvious
error, judicial error caused by a flawed interpretation of Congressional intent in the writing of the Wiretap Act.
Case: 1:12-cv-00629-SJD-SKB Doc #: 237 Filed: 07/07/18 Page: 2 of 2 PAGEID #: 3539




2) Whether the contemporaneous standard of intercept defeats the purpose of the Wiretap Act/is
unconstitutional when applied to electronic communications.
3) Whether the contemporaneous standard of intercept is unconstitutional when applied to
electronic communications.
4) Whether, as interpreted by the District Court, the contemporaneous standard of intercept is
unconstitutional.
5) Whether the contemporaneous standard contradicts congressional intention and landmark
Supreme Court rulings when applied to electronic communications.
6) Whether the District Court erred when it interpreted this Appeals Court’s recent acceptance of
the contemporaneous standard of intercept in an overly narrow manner.
7) Whether intercepts of electronic communications within mere fractions of a second from the
time they are received should be considered as triggering the Wiretap Act.



Dated: July 7, 2018                                           Respectfully Submitted,

                                                              /s/ Javier Luis
                                                              JDLuis65Ohio@gmail.com




                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Notice was filed electronically on July 7, 2018. Parties

may access this document through that system.

                                                              /s/ Javier Luis
